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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:22−cr−00323
                                                          Honorable Steven C. Seeger
Thomas Pavey, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 2, 2023:


         MINUTE entry before the Honorable Steven C. Seeger as to Raheim Hamilton:
The first motion for entry of an agreed protective order (Dckt. No. [44]) is hereby denied
as moot in light of this Court's order granting the second motion for entry of an agreed
protective order (Dckt. No. [55]). If this Court is missing something, and there was
something unique about the first motion that remains a live issue, the parties can simply
refile it. Mailed notice. (jjr, )




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